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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:23-cv-01077-PAB-NRN

   ROCKY MOUNTAIN GUN OWNERS, et. al,
       Plaintiffs,
   v.

   JARED POLIS, in his official capacity as Governor of Colorado,
        Defendant.

    THE GOVERNOR’S MOTION FOR A STAY OF THE PRELIMINARY INJUNCTION
                       PENDING APPEAL [DKT. 37]

          The Governor respectfully moves for a stay of the Court’s preliminary injunction [Dkt.

   37] pending appeal. Upon conferral, Plaintiffs’ counsel stated they oppose this motion.

                                  PROCEDURAL BACKGROUND

          Colorado’s Senate Bill 23-169 raises the minimum age to purchase a firearm in this state

   from 18 to 21. The new law regulates only the purchase of firearms. Persons 18-to-20-years-old

   may still lawfully possess firearms under the new law. Plaintiffs challenged the new law as a

   violation of the Second Amendment and sought a preliminary injunction two months before the

   law’s August 7, 2023, effective date. Dkt. 12. This Court granted the individual Plaintiffs’

   request on August 7 and preliminarily enjoined enforcement of SB23-169 pending disposition of

   this case on the merits. Dkt. 37.

          Because SB23-169 is a critical component of Colorado’s broader effort to combat gun

   violence, teen suicide, and mass shootings, and because the Court’s analysis granting the

   injunction presents a large number of novel, unresolved issues, the Governor is seeking

   immediate appellate review of the preliminary injunction order. See 28 U.S.C. § 1292(a)(1). The
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    Governor respectfully requests that the preliminary injunction order be stayed pending that

    appellate review.

                                               ARGUMENT

           “While an appeal is pending from an interlocutory order or final judgment that grants,

    continues, modifies, refuses, dissolves, or refuses to dissolve or modify an injunction, the court

    may suspend, modify, restore, or grant an injunction on terms for bond or other terms that secure

    the opposing party's rights.” Fed. R. Civ. P. 62(d). When seeking a stay of an injunction pending

    appeal, the movant must ordinarily first seek the stay in the district court. Fed. R. App. P. 8(a)(1).

           A motion for a stay of an injunction pending appeal is subject to the same standards as a

    motion for a preliminary injunction. Warner v. Gross, 776 F.3d 721, 728 (10th Cir. 2015). The

    Court considers (1) whether the movant has made a strong showing that they are likely to prevail

    on the merits of their appeal; (2) whether the movant will be irreparably injured if the stay is not

    granted; (3) whether granting the stay will substantially harm the opposing parties; and (4) where

    the public interest lies. Hilton v. Braunskill, 481 U.S. 770, 776 (1987); Bradford v. U.S. Dep’t of

    Labor, No. 21-cv-03283-PAB-STV, 2022 WL 266805, at *1 (D. Colo. Jan. 28, 2022).

           Here, each factor militates in favor of granting a stay pending appeal.

  I.       The Governor is likely to prevail on the merits of his appeal.

           A.      The record does not establish that Plaintiffs have standing to obtain
                   an injunction.

           The Governor’s response to the preliminary injunction motion described how the

    individual Plaintiffs’ allegations were insufficient to establish standing or the Court’s subject

    matter jurisdiction. Dkt. 28 at 8. In a similar Second Amendment case, the Tenth Circuit held

    that certain plaintiffs lacked standing because they did not have “concrete plans to engage in

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   conduct” that violated the challenged statute. Colo. Outfitters Ass’n v. Hickenlooper, 823 F.3d

   537, 551 (10th Cir. 2016). The Court noted here that the individual Plaintiffs “do not state that

   they will purchase firearms after the law goes into effect, that they have previously purchased

   firearms, or that they have taken any steps to prepare to purchase firearms.” Dkt. 37 at 12 n.6.

   The Court also stated it was not aware of the individual Plaintiffs’ current age or whether SB23-

   169 would apply to the individual Plaintiffs’ conduct after the law became effective. Id. at 14

   n.8. The Court also “exercise[ed] its discretion not to hold a hearing on plaintiffs’ motions”

   without resolving these jurisdictional prerequisites. Id. at 4 n.4. Under these circumstances, the

   Court erred when it held that the individual Plaintiffs’ declarations alone established “concrete

   plans” to violate SB23-169. Dkt. 37 at 12 n.6; Colo. Outfitters Ass’n, 823 F.3d at 551. A court is

   “powerless to create its own jurisdiction by embellishing otherwise deficient allegations of

   standing.” Nova Health Sys. v. Gandy, 416 F.3d 1149, 1154 (10th Cir. 2005) (citation omitted).

          B.      The Governor is likely to prevail under the Bruen standard.

          The Supreme Court in Bruen announced a new test for evaluating gun laws under the

   Second Amendment. New York State Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111 (2022).

   First, the court must determine if the Second Amendment’s plain text covers the individual’s

   conduct. Id. at 2126. If so, under Bruen’s second step, the government must demonstrate that the

   regulation is consistent with this Nation’s historical tradition of firearm regulation. Id.

          The Governor’s response to Plaintiffs’ preliminary injunction motion satisfied this

   standard, noting Plaintiffs had not carried their burden on the first step while also identifying

   several historical analogues at the second step that show this Nation has a long tradition of

   placing restrictions on 18-to-20-year-olds’ ability to purchase firearms. Dkt. 28 at 13-23. The


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   Governor’s evidence included over 320 pages of sworn declarations and exhibits from leading

   experts. Dkt. 28-1 to 28-5. Plaintiffs rebutted none, choosing to submit no expert declarations

   whatsoever. The Governor’s evidence revealed, for example, that persons under 21 in the 18th

   century were subject to their parents’ authority and thus did not have full contracting rights to

   purchase firearms (Dkt. 28 at 14; Dkt. 28-1 at 12-13, 20-22); that early American colleges and

   universities prohibited their students from possessing firearms on campus (Dkt. 28 at 15; Dkt.

   28-2 at 14-16); that parents continued to be responsible for their minor children when they

   served in the militia and were even responsible for supplying the minor’s firearm (Dkt. 28 at 15-

   16; Dkt. 28-1 at 25-27, 34-41); and that states and cities in the Founding and Reconstruction

   periods adopted restrictions on minors’ ability to purchase and use firearms (Dkt. 28 at 17-18;

   Dkt. 28-2 at 7-9; Dkt. 28-5).

           The Court rejected the Governor’s evidence. But in doing, the Court misapplied Bruen in

   at least four critical ways. First, at Bruen’s first step, the Court failed to evaluate the “plain text”

   of the Second Amendment as “known to ordinary citizens in the founding generation.” District

   of Columbia v. Heller, 554 U.S. 570, 577 (2008). The Court did not require Plaintiffs to first

   demonstrate that the “public understanding of the right when the Bill of Rights was adopted in

   1791” included a right for 18-to-20-year-olds to purchase firearms. Bruen, 142 S. Ct. at 2137.

   Indeed, the Court did not require the Plaintiffs to present any evidence at all. Instead, the Court

   erred by placing the burden of Bruen’s first step on the Governor. At step one, the Court held

   that the Governor had not presented evidence of a historical tradition, only evidence that “states

   could have regulated 18-to-20 year olds [at the founding] because they lacked rights as minors.”

   Dkt. 37 at 25. By doing so, the Court makes Bruen an impossible test. The Governor must point


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   to a historical restriction on a right before the Plaintiffs have even demonstrated such a right

   historically existed. But the absence of Founding era regulations cannot indicate a lack of a

   historical tradition if the Founding generation never understood the Second Amendment to cover

   the conduct in the first place.

           Second, at Bruen’s second step, the Court held the Governor to an impermissibly high

   standard that requires a de facto historical “dead ringer,” not a “historical analogue.” Bruen, 142

   S. Ct. at 2133. On early college bans of firearms, for example, the Court reasoned that colleges

   did not prohibit students from possessing firearms “because of their age.” Dkt. 37 at 35. But the

   Governor’s evidence showed that early colleges acted as a parental substitute over their students,

   most of whom were 18 to 22 years old. Dkt. 28-1 at 27 (“[M]inors attending college traded strict

   parental authority for an equally restrictive rule of in loco parentis.”); Dkt. 28-2 at 14 (same).

   Requiring a parental substitute would not have been necessary without the common

   understanding that college students, because of their age, were not yet full-fledged adults and did

   not enjoy the fully panoply of constitutional rights. While perhaps not a “dead ringer,” early

   college bans on firearms satisfies Bruen’s more flexible “historical analogue” rubric.

           So, too, with the other Founding and Reconstruction-era restrictions identified by the

   Governor. The Court was unpersuaded by the Governor’s analogues because he “fail[ed] to point

   to any evidence during the founding era that a total prohibition on the sale of firearms to minors

   was consistent with the right to bear arms[.]” Dkt. 37 at 39-40. But demanding such a prohibition

   would amount to a “historical twin” not required by Bruen. 142 S. Ct. at 2133. Under Bruen,

   identifying “historical analogues” is sufficient. Id.




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          Third, the Court’s order granting the preliminary injunction effectively nullifies Heller’s

   category of “presumptively lawful” regulations. Heller, 554 U.S. at 627 n.26; accord Bruen, 142

   S. Ct. at 2157 (Alito, J., concurring) & 2162 (Kavanaugh, J., concurring) (recognizing that Bruen

   does not disturb this provision of Heller). Heller stated that “nothing in our opinion should be

   taken to cast doubt on longstanding prohibitions on the possession of firearms by felons and the

   mentally ill, or laws forbidding the carrying of firearms in sensitive places such as schools and

   governments buildings, or laws imposing conditions and qualifications on the commercial sale of

   arms.” 554 U.S. at 626-27. Heller described these presumptively lawful regulations as

   “exceptions” to the Second Amendment, id. at 635, and part of what “the Constitution leaves [to

   the States as] … tools for combating” modern gun violence, id. at 636. The Governor argued that

   SB23-169 falls into this presumptively lawful category as a condition on the commercial sale of

   a firearm. Contrary to the Court’s holding, Dkt. 37 at 30, the law regulates firearm sellers, not

   just buyers, preventing them from selling to anyone under 21. See Dkt. 1-1, SB23-169, § 2

   (enacting § 18-12-112(2)(e)); id., § 3 (enacting § 18-12-112.5(1)(a.3)). The Court disagreed,

   stating that even regulations falling into Heller’s presumptively lawful category are subject to

   Bruen’s two-part test, including the second step where the government carries the burden. Dkt.

   37 at 28-31.

          This flips Heller’s presumption on its head. Instead of presuming that the regulation is

   constitutional, the government must now bear the burden of showing a historical analogue for all

   manner of laws that gave the Heller Court no pause. Flipping the Heller presumption will

   effectively mean the end of the presumptively lawful category, since few to no historical

   analogues exist prior to the 20th century for many of the laws that Heller held are presumptively


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   valid. See Bruen, 142 S. Ct. at 2133 (noting “relatively few” “sensitive places” in the historical

   record but continuing to recognize the “lawfulness of such prohibitions”).

          Other courts have correctly rejected this call to invalidate Heller’s presumptively lawful

   category after Bruen. See, e.g., United States v. Minter, 635 F. Supp. 3d 352, 361 (M.D. Penn.

   2022) (“Where Bruen did not overturn, abrogate, or otherwise suggest that the longstanding

   prohibitions identified in Heller, including the prohibition of possession of firearms by felons,

   may no longer be lawful, this Court is bound by the Supreme Court’s decision in Heller.”);

   United States v. Price, 635 F. Supp. 3d 455, 466 (S.D. W. Va. 2022) (“[T]he Supreme Court left

   generally undisturbed the regulatory framework that keeps firearms out of the hands of

   dangerous felons through its decision in Bruen by reaffirming and adhering to its reasoning in

   Heller and McDonald.”). These courts rightly hold that Bruen’s two-step test need not be applied

   to presumptively lawful regulations that the Supreme Court has “already signaled” are

   constitutional. Minter, 635 F. Supp. 3d at 358; accord Price, 635 F. Supp. 3d at 466.

          And fourth, the Court gave too little weight to the historical analogues identified by the

   Governor from the time of the Fourteenth Amendment’s ratification. Dkt. 37 at 39-40. As the

   Governor argued, the Supreme Court does not demand that courts ignore 19th century history.

   Heller looked to how the text was interpreted “from immediately after its ratification through the

   end of the 19th century.” 554 U.S. at 605. And while Bruen declined to definitively decide the

   issue, it nonetheless looked to the historical record from the “18th- and 19th-century” when

   continuing to uphold Heller’s “sensitive places” category. 142 S. Ct. at 2133. Thus, 19th century

   history should not be discounted in the historical analysis required by Bruen.




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            At bottom, the new two-part test required by Bruen has reopened an array of questions

    that lower courts are grappling with. How close of a fit must the historical analogue be? What

    historical period should be considered? These questions will require time—and a record—to

    resolve. But for now, the Governor has made a strong showing under existing Supreme Court

    guidance that SB23-169 is constitutional. He is therefore substantially likely to succeed on the

    merits of his appeal, justifying a stay of the preliminary injunction pending appeal.

 II.   Colorado will be irreparably injured if a stay of the preliminary injunction is not
       granted pending appeal.

           A stay of the preliminary injunction pending appeal is also necessary because Colorado is

    suffering, and will continue to suffer, irreparable injury each day that SB23-169 remains

    preliminarily enjoined. See Maryland v. King, 567 U.S. 1301, 1303 (2012) (“Any time a State is

    enjoined by a court from effectuating statutes enacted by representatives of its people, it suffers a

    form of irreparable injury.”).

           In just the last five days, some 54 Coloradans aged 18-to-20-years old have attempted to

    purchase firearms. See Ex. 1, Baumgart Decl. Many would not have been eligible if SB23-169

    were in effect. More will occur each day that the law remains enjoined. These attempted

    purchases are especially troubling because firearms are now the leading cause of death for 18-to-

    20-year-olds in Colorado and the United States. Dkt. 28 at 1 & n.1. With the new school year

    about to commence, Colorado needs fewer guns in the hands of minors, not more.

III.   Granting a stay of the preliminary injunction will not substantially harm Plaintiffs.

           Conversely, granting a stay of the preliminary injunction will not substantially harm

    Plaintiffs here. To show irreparable harm, Plaintiffs were required to show that their rights were

    threatened or actually impaired “at the time relief was sought.” Elrod v. Burns, 427 U.S. 347,

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   373 (1976) (emphasis added). As the Governor argued, the individual Plaintiffs had ample

   opportunity to acquire firearms in the two months between their preliminary injunction motion

   and the law’s August 7, 2023, effective date. Dkt. 36 at 2-3. If they failed to do so, it was

   Plaintiffs’ own voluntary choice and thus a self-inflicted injury. Such injuries will not support

   relief from a federal court. See Clapper v. Amnesty Int’l USA, 568 U.S. 398, 416 (2013)

   (plaintiffs “cannot manufacture standing merely by inflicting harm on themselves based on their

   fears of hypothetical future harm that is not certainly impending”).

          In granting the preliminary injunction, this Court found that Plaintiffs had made the

   requisite showing because the violation of a constitutional right alone constitutes irreparable

   harm. Dkt. 37 at 41. But even if true, the Court must “nonetheless engage in [the] traditional

   equitable inquiry as to the presence of irreparable harm in such a context[.]” Fish v. Kobach, 840

   F.3d 710, 752 (10th Cir. 2016). Here, the individual Plaintiffs easily could have avoided their

   claimed harm, if any, by purchasing their desired firearms before SB23-169’s effective date.

   Moreover, other than the bare assertion that the individual Plaintiffs intend to buy firearms for

   self-defense, the record is devoid of any evidence suggesting that they have concrete plans to

   engage in conduct that violates Colorado law. See Dkt. 37 at 12 n.6 (explaining that Plaintiffs

   failed to indicate “that they will purchase firearms after the law goes into effect, that they have

   previously purchase firearms, or that they have taken any steps to prepare to purchase

   firearms.”). Even under a traditional equitable balancing analysis that is generous to Plaintiffs,

   this falls well short of constituting irreparable harm.




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IV.      The public interest strongly favors staying the preliminary injunction pending appeal.

             Absent a stay of the preliminary injunction pending appeal, Colorado will be foreclosed

   from enforcing a law enacted by its elected representatives that seeks to combat gun violence,

   teen suicide, and mass shootings. These tragedies are well-known to Colorado. See Rocky

   Mountain Gun Owners v. Polis, 467 P.3d 314, 317 (Colo. 2020) (“Colorado has been the setting

   of two of the nation’s most notorious mass shootings: Columbine High School in 1999 and the

   Aurora movie theater in 2012 … Collectively, the shooters killed over two dozen people and

   wounded scores more.”). In fact, the Court’s injunction takes effect the same month that

   schoolchildren across Colorado will be returning to the classroom to begin the new school year.

   The Court’s injunction allows some of those schoolchildren to purchase guns, contrary to the

   will of the people of Colorado.

             By enacting SB23-169, Colorado’s General Assembly determined it would serve the

   public interest and promote public safety if the minimum age to purchase firearms was raised to

   21. See Fish, 840 F.3d at 755 (“our democratically elected representatives are in a better position

   than this Court to determine the public interest.”). Risk taking peaks in the late teens and early

   20s because the human brain is still developing. Dkt. 28-4 at 16. Widely available firearm

   purchases by this group can threaten public safety. Coloradans will undoubtedly be harmed

   unless the law can be enforced while judicial review proceeds in the Tenth Circuit. The public

   interest thus strongly favors a stay.

                                              CONCLUSION

             For the reasons stated above, the Court should enter a stay of its preliminary injunction

      pending appeal.


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        Dated: August 11, 2023

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                                 CERTIFICATE OF SERVICE

         I hereby certify that on August 11, 2023, I served a true and complete copy of the
  foregoing THE GOVERNOR’S MOTION FOR A STAY OF THE PRELIMINARY
  INJUNCTION PENDING APPEAL upon all parties herein by e-filing with the CM/ECF
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